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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                            No. 1:20-mj-416

               vs.                                           Hon. Sally J. Berens
                                                             United States Magistrate Judge
ADAM FOX,
BARRY CROFT,
TY GARBIN,
KALEB FRANKS,
DANIEL HARRIS, and
BRANDON CASERTA,

                  Defendants.
_________________________________/

           GOVERNMENT’S UNOPPOSED MOTION FOR AN ENDS OF JUSTICE
             CONTINUANCE TO EXTEND TIME FOR FILING INDICTMENT

       The United States requests a 40-day extension of time, up to and including December 16,

2020 in which to seek an indictment against the defendants. In support, the government states as

follows.

                                             FACTS

       1.      On October 7, 2020, the defendants were arrested for conspiring to kidnap the

Governor of Michigan. (R. 1: Criminal Complaint, PageID.1.) The ongoing investigation

involves multiple FBI field offices in several states, including Michigan, Delaware, and

Wisconsin. The FBI has collected hundreds of hours of audio recordings from confidential

human sources and undercover agents, and is still in the process of collating that material.

Because of the imminent nature of the threat, law enforcement was obliged to arrest the subjects

before this evidence could be processed. In particular, lead defendant Adam Fox stated on
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multiple occasions that the group’s deadline for executing the plot was the November 3, 2020

national election. (R. 39: Transcript of Preliminary Hearing, PageID.100.)

       2.      FBI and Michigan State Police also recovered voluminous evidence incident to

the defendants’ arrests, and during the contemporaneous execution of premises warrants. This

evidence included computers and cellular telephones, which must be forensically analyzed as

authorized by this and other U.S. District Courts. The evidence also included potentially illegal

firearms and explosives evidence, which must be examined by FBI and ATF experts to

determine whether additional federal charges are appropriate.

       3.      On October 13 and 16, 2020, this Court held preliminary and detention hearings

for defendants Adam Fox, Ty Garbin, Kaleb Franks, Daniel Harris, and Brandon Caserta. This

Court found probable cause to bind the case over for further proceedings before the grand jury,

and remanded those five defendants to the custody of the U.S. Marshal. (R. 51: Order,

PageID.270.)

       4.      Defendant Barry Croft made his initial appearance in Delaware, and waived his

Rule 5(c)(3) hearings. (R. 43: Rule 5 transfer documents, PageID.252-61.) The U.S. District

Court for the District of Delaware committed Croft to the custody of the U.S. Marshal for

transfer to this District. (Id., PageID.43–5, PageID.262.) Croft reserved his right to preliminary

and detention hearings in Western Michigan, and will need to be appointed local counsel. (Id.,

PageID.261-2.) It has not been determined when Croft will appear in this district.

       5.      The government would under normal circumstances be required to seek an

indictment within 30 days of the defendants’ arrests. That deadline falls during the week of

November 2, when a new grand jury is being empaneled. Due to the extraordinary volume of

collected and recovered evidence to be analyzed, the government cannot complete its



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investigation within 30 days of arrest, while exercising due diligence to ensure the charges fairly

reflect the defendants’ conduct.1

       6.      Pursuant to L.Cr.R. 12.4, the government has consulted with defense counsel for

all the charged defendants, including Mr. Croft. All counsel have advised that they concur in the

filing of this motion.

                                     LAW AND ANALYSIS

       The Speedy Trial Act provides that under normal circumstances, “[a]ny information or

indictment charging an individual with the commission of an offense shall be filed within thirty

days from the date on which such individual was arrested or served with a summons in

connection with such charges. 18 U.S.C. § 3161(b). The statute specifically provides for

excludable delay in the filing of an indictment, however, when the Court finds “the ends of

justice served by [granting a continuance] outweigh the best interest of the public and the

defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

       The statute lays out factors the court must consider in determining whether to grant a

continuance. 18 U.S.C. § 3161(h)(7)(B). One is “[w]hether, in a case in which arrest precedes

indictment, delay in the filing of the indictment is caused because the arrest occurs at a time such

that it is unreasonable to expect return and filing of the indictment within [30 days], or because

the facts upon which the grand jury must base its determination are unusual or complex.” 18

U.S.C. § 3161(h)(7)(B)(iii). “In a case which, taken as a whole, is not so unusual or complex” as

to fall within the clause above, the court should consider whether the failure to grant it would




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  One defendant, for instance, has proffered through counsel that he affirmatively withdrew from
the conspiracy. Although a preliminary examination of the evidence does not confirm that claim,
the government intends to conduct a thorough review to identify any potentially exculpatory
evidence before submitting proposed charges to the grand jury.
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“deny counsel for the defendant or the attorney for the Government the reasonable time

necessary for effective preparation, taking into account the exercise of due diligence.” 18 U.S.C.

§ 3161(h)(7)(B)(iv). Courts have held a continuance is justifiable where the investigation is

ongoing and incomplete at the time of the defendants’ pre-indictment arrest. See, e.g., United

States v. Marin, 7 F.3d 679, 683 (7th Cir. 1993).

       A continuance is appropriate under Sections 3161(h)(7)(B)(iii) and (iv). The arrest

occurred before the investigation could be completed because of the defendants’ own accelerated

timetable for executing their plot. While kidnapping itself may not always be per se a complex

offense, the facts upon which the grand jury must base its determination are unusual for their

sheer volume in this case. The evidence includes hundreds of hours of undercover audio

recordings that have yet to be catalogued and transcribed, and as of the time of this motion, over

13,000 pages of encrypted text messages. The amount of additional audio, video, and message

content yet to be discovered and processed from the defendant’s devices seized on October 7,

2020 is undetermined, but certain to be voluminous. In addition, firearms and explosive device

components were recently recovered, and must be analyzed to determine whether charges under

the National Firearms Act, explosives, or anti-terrorism statutes are warranted.

       Even if the Court does not conclude the case is unusually complex, the government

cannot exercise due diligence in determining which defendants to charge with what offenses by

the default 30-day deadline. By their concurrence, the defendants acknowledge it is in their own

interests that the government have adequate time to review and present the evidence to the grand

jury. Finally, defendant Croft has yet to appear in the district, making it a near certainty that at

least one defendant will request a continuance in any event.




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       WHEREFORE, the government requests the Court grant a 40-day extension of time, up

to and including December 16, 2020 in which to seek an indictment against the defendants.

                                           Respectfully submitted,

                                           ANDREW BYERLY BIRGE
                                           United States Attorney

Date: October 26, 2020                       /s/ Nils R. Kessler
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